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Owen Marlon Alexander

Rept. No: 100010612

cD Purpose

U.S. District Court

New York Eastern - Brooklyn

Trans. Date: Nov 3, 2023 2:41PM

Case/Party/Defendant Qty

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Receipt Date: Nov 3, 2023 2:41PM

Cashier ID: #JH

POR e ere eee COTO ERO REND EEO R ED EE OREM OOE RAE OEOEAEEEEEESESS DODO DDE EOEEEE ETOH OEPEEHAEEETESEDPESE ERED OEE MOD OSA E SEEDED DAHER AEE ESOS SSE OCOOOESESSSOUSESESIEES PESUDODEESEODENHOEDOED

203 Notice of Appeal/Docketing Fee

cD Tender

DNYE123CV005663
FBO: Owen Marlon Alexander

POOR O eee eee EOE ROR RRA AEE SOO A EEE ODE EE EOEEOEODEEEHEEED EDD DOOD OSTEO DUDE DOTS EE OTST OTEOSSESESESEAEEEEEDDOHHEE SEER ADAREREDODSEDPPUSES BDESUEUEUESUES ESTO EOE ETOSOR TOON EOESETOUOE SES

Total Due Prior to Payment:
Total Tendered:
Total Cash Received:

Cash Change Amount:

ORO e eee teem Ramee REET REAR ETE ROR E SESS OR DR ADE SS

OOOO ee Hoon eee ereeeereeeeeneceeeeneneseeenne

See ran nn ereen nce rerereeeveuusccoessseceesssee

Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee

will be charged for a returned check.
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